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           EXHIBIT 3
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            Get to know some of the Unite the Right rally
            participants and½sympathizers
            As a society, racism and the belief in white supremacy is deep in our DNA. It can be said
            that Christopher Columbus was the father of white supremacy in the Americas. The Civil
            War hardly extinguished this feature of the American psyche. Most of the monuments to
            the confederacy were erected in the early 1900s and following passage of the 1964 Civil
            Rights Act. As in the Civil War, the alt-right are our brothers and sisters, fellow
            Americans. THEY watch the same movies, participate in the same sporting events, go to
            the same restaurants as WE. They’re part of us.


            And President Trump has given legitimacy to their platform. If the main-stream press is
            fake news, then the reports here must be what the President believes. We can only be a
            better country if we understand something about this illness that afflicts our body politic.
            bHere is a glimpse of some of the supporters of the Unite The Right Rally in Charlottsville,


https://hocomd.cc/2017/08/18/get-to-know-some-of-the-unite-the-right-rally-participants-and-sympathizers/                       1/12
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            Va. on Saturday, August 12th; and an organization at the forefront of monitoring some
            1,600 hate and extremist groups operating in this country.



            Battle of Charlottesville: A Firsthand Account

            by Lee Rogers (Daily Stormer), bAugust 13, 2017 [ABRIDGED]




            I wanted to give everyone my first hand account of what I saw while everything is still
            fresh.bThe one thing I will say is that everything I’m seeing reported in the Jewish
            media about what happened yesterday is a lie. There’s nobody giving an accurate
            account. All I’ve seen is an endless parade of non-Whites and Jews spewing nonsense.
            I’ve yet to see a single person on any of the big cable news channels interview a single
            person from our side.


            Here’s what really happened.bAt around 9 AM many of us began assembling at McIntire
            Park which is a short distance away from Lee Park. As we walked to [Lee Park] we were
            confronted by all sorts of degenerates. At first it was mostly just boomer cuckolds,
            middle aged cat ladies and some random faggots. The crazier anti-fascist types were
            closer to the park itself.


            As more of our people began to filter in, the anti-fascists began to throw stuff at us.
            They threw urine, actual shit, water bottles and anything else they could find. They
            even used pepper spray and mace.


            What’s important to note is that our group was merely trying to peacefully assemble at
            a place where we had a permit to lawfully do so. All the violence originated from the
            anti-fascist side. We were merely defending ourselves from getting attacked as we tried
            to enter the park!


            #UniteTheRight will go down as a truly historic event. The record will show that the
            government illegally shut down our gathering because they feared our political ideas.


https://hocomd.cc/2017/08/18/get-to-know-some-of-the-unite-the-right-rally-participants-and-sympathizers/                       2/12
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            They were stupid to do this as this is only going to bring more people to our side. This
            was a major victory for us.


            I salute each and every one of you who attended the rally. #UniteTheRight has proven
            that we are a formidable political force not to be taken lightly.


              https://web.archive.org/web/20170814123854/https://www.dailystormer.com/unitetheri
                                                                                                 ght-historic-event-for-the-ages/



            An Aryan Society –½Building a New White World

            HoCoMDcc
            Correspondence and Collaboration for a better Howard County, Md.




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                                                               https://natall.com/about/what-is-the-national-alliance/



            Unite The Right After Action Report
https://hocomd.cc/2017/08/18/get-to-know-some-of-the-unite-the-right-rally-participants-and-sympathizers/                       4/12
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            by Major Brian Culpepper (National Socialist Movement),bAugust 2017 [EXCERPTS]




            On Saturday, Aug. 12th, members of the National Socialist Movement [NSM] took to the
            streets once again to stand in defense of our honored Confederate Veterans and oppose
            the planned removal of the statue of Robert E. Lee in Charlottesville Virginia.bThis was
            a joint operation by the Nationalist Front [NF]bgroups, including not only the NSM but
            our allies in the League Of The South, American Vanguard, Traditionalist Workers
            Party, East Coast Knights, C-28 and other allies.


            On Saturday morning, the NSM and our NF allies met at a pre designated rally point
            and after a last minute recon of the event area we loaded up and moved into position
            in preparation of our legally permitted and lawful march route to the Lee monument.


            As the formation moved out into the streets we were met by a sight that is all too
            familiar to the street wise NSM and NF groups: an unruly mob of filthy left wing
            degenerates that exhibit the worst traits of human character imaginable. It was an
            unholy alliance of homosexuals and Blacks and self hating Whites were in the mix as
            well as hard core Communists. Make no mistake, the degenerates hiding under the
            banner of “diversity” and “tolerance” believe in those principles only as long as you
            agree with their twisted value systems.


            As the orderly and disciplined NF formation approached the permitted rally area, a
            number of fist fights and other physical confrontations broke out as leftist began a
            feeble effort to try to stop the forward progress of the determined NF column to reach
            our permitted rally point. The City of Charlottesville showed very poor planning in
            allowing leftist into our permitted area as this was directly responsible for the large
            number of injuries that were inflicted on the pathetic Reds who are no match for the
            hardened Nationalists.


            Our admiration and thanks go out to the professionalism exhibited by the highly
            trained men at the League Of The South who took point in the shield wall that pushed
            through the line of Red opposition as well as the very tough groups of skins that were
            right there with them fighting their way through. The skin crews that were there were
            a very hard lot and certainly no one in the opposition would want to tackle in a fair
https://hocomd.cc/2017/08/18/get-to-know-some-of-the-unite-the-right-rally-participants-and-sympathizers/                       5/12
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            fight and we thank them for their support. A few did get pepper spray or tear gas
            injuries but other than that they came away unscathed and once again proved their
            mettle and value in these sort of street confrontations.


            Overall the event was a huge success for the NF allies. It gave us an opportunity to
            assess our training programs in real life scenarios and will help critique cross
            organizational efforts moving forward. The unprecedented levels of video
            documentation and social media presence has proven to all of America exactly what
            the NSM has been warning about: That the forces aligned against us are straight up
            Communists and their ultimate goal is the destruction of not only America but the
            White Race globally. The mechanism they employ is the systematic replacement of
            culture and this corrosive effect weakens the nation internally and creates
            opportunities that the Communist seek to exploit. The left are the modern day Facists in
            that they seek to repress and destroy every opinion that is not in agreement with theirs.


            Far from discouraging us, this event has only hardened our resolve to defend our
            Veterans and our Race and our culture. We will not be replaced!! This is not the end, it
            is only the beginning. While the MSM [main stream media] continues to distort the
            facts, social media and alternative news are getting the truth out and public opinion is
            overwhelmingly on our side. We are receiving unprecedented levels of calls for
            membership and pledges for support as Americans are simply fed up with this
            continuing assault on our freedoms being waged by the 2 Party system.


            Our thanks to all that supported our efforts and we must all harden our resolve for it is
            a certainty that there will be more violence before this situation is resolved. But it is a
            fight we must fight as the sacrifices of our Veterans must not be forgotten and this is a
            battle not only for the existence of our nation but of the very survival of our people.
            Please join us in our efforts. Hail Victory!


                          http://www.nsm88.org/reports/UniteTheRight_Aug_2017_afteractionreport.htm



            Rally Poster, and Featured Image at top of this post

            from the website of Anti Communist Action




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                                     Anticom’s mission is to defend our communities from radical political
                                     violence by physically resisting leftist terrorists and rioters. In addition
                                     to defense, Anticom seeks to improve our communities through
                                     service and charity. Anticom members are held to high standards of
                                     physical and mental readiness. Due to the physical demands of
                                     resisting communism, we require that members pass the USMC’s
            physical fitness test once per year.


            Patriots of all races, creeds, and classes must unite to resist the menace of radical far-
            left violence. We have not forgotten the uncounted millions of lives sacrificed to
https://hocomd.cc/2017/08/18/get-to-know-some-of-the-unite-the-right-rally-participants-and-sympathizers/                       7/12
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            Communist utopian insanity and we will not stand by and watch as our peaceful events
            are invaded, our compatriots are harassed and assaulted, and our culture is
            contaminated with the destructive, divisive ideology of cultural marxism.


                                                                           http://sidengo.com/anticom#upcoming-events



            East Cost Knights of the True Invisible Empire, Cecil County, Maryland




            Do not let those of the past cloud your judgment on what we are today and what we are
            trying to accomplish! We do wish to preserve the White Christian ways. (The same way
            other races wish to preserve their race and beliefs!) The East Coast Knights wish to take
            back only the right of free speech, and right to say that we are White and Proud! We see
            people of all races walking with their heads held high, proud to be of whatever race or
            religion never to be persecuted or questioned as to their motives.


            Except for the Whites!


            How long will the White Race have to continue persecution? We will not let this
            continue! We know that there are those out there who strongly agree, but do not wish
            to stand up for your rights. The rights of your children, grand children and the future
            for those to come.


            Think about your loved ones.


            Those once considered minority races are flourishing recieving welfare handouts,
            Meanwhile, all the hard working people can’t get a break. our own government is
            taking jobs away sending them over seas, putting hard working Americans out of jobs.

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            Taking food off the table, prices of gas are going up, bills are to much to think about.
            We can go on and on, but its up to you America!


            join the East Coast Knights and make a stand!


            Once a member, you are family. We live by the Klans motto Non Silba, Sed Anthar.
            Which means not for self, but for others. As long as there are still true Americans with
            the fear of God in their hearts and the love of law and order in their minds, there will
            always be a Ku Klux Klan fighting for truth and justice.


                                                        http://www.eastcoastknightsofthetrueinvisibleempire.com/



            Southern Poverty Law Center

                                                                                             The SPLC is the premier U.S. non-
                                                                                             profit organization monitoring
                                                                                             the activities of domestic hate
                                                                                             groups and other extremists [on
                                                                                             the left and the right]b– including
                                                                                             the Ku Klux Klan, the neo-Nazi
                                                                                             movement, neo-Confederates,
                                                                                             racist skinheads, black
                                                                                             separatists, antigovernment
            militias, Christian Identity adherents and others.


            We are currently tracking more than 1,600 extremist groups [including 917 hate
            groups]boperating across the country. We publish investigative reports, train law
            enforcement officers and share key intelligence, and offer expert analysis to the media
            and public.




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            Eighteen hate groups operating in Maryland, from Hate Map of the United States (Southern Poverty Law
            Center)



            Our work fighting hate and extremism began in the early 1980s, amid a resurgence of
            Klan violence that began several years after the end of the civil rights movement. Each
            year since 1990, we have released an annual census of U.S. hate groups. In the mid-
            1990s, we also began documenting the number of radical, antigovernment militias and
            other organizations that comprise the far-right “Patriot” movement.


            Over the years, we’ve crippled or destroyed some of the country’s most notorious hate
            groups – including the United Klans of America, the Aryan Nations and the White
            Aryan Resistance – by suing them for murders and other violent acts committed by
            their members or by exposing their activities.


                                                                                                        https://www.splcenter.org/


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            The LGBTQ+ community is                     Lt. William H. Schwarz served              We remember Bob Duggan --
            under attack; Howard County                 in Korean War battalion of                 acupuncturist, teacher,
            has PFLAG                                   black enlisted men and white               visionary
            In "Columbia"                               officers                                   In "Education"
                                                        In "Baltimore"




            PUBLISHED BY


                         Harry Schwarz
                         Nicknamed “The Professor” by his colleagues, Harry is a native Marylander who moved to
                         Columbia in 2001. Harry’s wife, Cathy, is a Columbia acupuncturist and the family includes two
                         college-age children, a dog and a cat. Harry is a partner with BearsolutionsLLC, assisting charter
                         school authorizers to provide effective financial oversight. He is underemployed at this time and
                         welcomes conversation about how he might help you. View all posts by Harry Schwarz 




             August 18, 2017  Harry Schwarz  Diversity and Race, History, Maryland



            One thought on “Get to know some of the Unite the Right rally
            participants and½sympathizers”


                    rasoirj21
            August 18, 2017 at 7:46 PM


            Thanks, useful information. Nothing like seeing white supremacist content to
            understand how truly vile these groups are.


             Like




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